Case 3:1O-cV-Ol717-WWE Document 1 Filed 10/29/10 Page 1 of 5

UN!TED STATES DiSTRiCT COURT
DlSTRICT OF CONNECT|CUT

 

DEBRA LlSEO ClVlL AC'¥'|ON

Plaintiff

V,.

DYNAM|C RECOVERY SERV!CES, LLC

Defendant
OCTOBER 27, 2010

 

COMPLA|NT
i. lNTRODUCTlON
'l. This is a suit brought by a consumer Who has been harassed by the
defendant Coliection agency This action is for ‘v'iolations of the Fair Debt Collection
Practices Act (“FDCF’ ”), 15 U.S.C. §§ 1692 et seq. and includes a pendent claim
brought under State law for violation of the Connecticut Unfair Trade Practices Act,
Conn. Gen. Stat. §§ 42~‘¥10a et seq. l
li. PART!ES
2. Plaintiff, Debra Liseo, is a natural person residing in l\/iiddietown, Connecticut
and is a consumer as defined by the Fair Debt Collection Pi'actices Act (“FDCPA”) 15
U.S.C. §1692a(3).
3. The defendant, Dynamic Recovery Services, (“DRS”), is a Connecticut
Limited l_iabii§ty Company and is iicensecl by the Connecticut Department of Banking as

a Consumer Collection Agency and is a debt collector as defined by FDCPA §

46923(6)_

Case 3:10-cv-01717-WWE Document 1 Filed 10/29/10 Page 2 of 5

lli. JURISD|CT|ON

4. Jurisdiction in this Court is proper pursuant to ‘|5 U.S.C. § 1692k(d), 28
U.S.C. §§ 1331, 1367, and 1337.

5. This Court has jurisdiction over DRS because it engages in debt collection
vvithin Connecticut.

6. Venue in this Court is proper, because the Piaintitt is a resident and the acts
complained of occurred in this state.

lV. FACTUAL ALLEGATIONS

7. Plaintiff had purchased a vehicie and had entered into a retail installment
sales contract (the “Contract”) to finance the purchase of that vehicle Which resulted in a
consumer debt.

8. The Contract Was assigned to Citifinanciai Auto_

9. The Contract included a GAP Addendum that provided that in the event that
her vehicle Was a total loss, Plaintiff was not responsible to pay any balance remaining
under the Contract

10. Plaintitf’s vehicie Was subseq uentiy totaled and determined to be a total ioss,
but Citifinanciat Auto maintained that Plaintii°f owed a balance under the Contract, Which
claim Piaintiff disputes

11.Citifinancial Auto retained DRS to collect the alleged debt.

Case 3:10-cv-01717-WWE Document 1 Filed 10/29/10 Page 3 of 5

12. |n September 2010, a DRS representative named Ken Wallace left four
messages on Plaintii'fs’ voicemail regarding the alleged debt; in each ct those
messages, Ken Wailace failed to state that the communication was from a debt collector
or that DRS was attempting to collect a debt.

13. ln one of the aforementioned messages, Ken Wallace referred to a
Cititinancial complaint and referenced a complaint number

14.Also in September 2010, a DRS representative called and spoke with Plaintiff
regarding the alleged debt, and during that conversation, that DRS representative toid

Plaintii"i that she stiil owed a debt to Citifinancial Auto under the Contractl

V. COUNT ONE
Violations of Fair Debt Co|lection Practices Act, 15 U.S.C. §§ 1692 et seq.
15. Plaintitf incorporates Paragraphs 1-14.
16. DRS violated the FDCPA in one or more of the foi|owing respects:
a. DRS violated 15 U.S.C. § 1692e(10) by deceptively
misrepresenting that Plaintii°f stili owed a debt under the Contract.
b. DRS violated 15 U.S.C. § 1692e(11) by leaving messages that
failed to inform Plaintifi that the communication Was from a debt collector.
c. DRS vioiated 15 U.S.C. § 1692t(1) by attempting to coilect an
invalid debtl
d-. DRS violated 15 U.S.C. § 1692e(2)(A) by misrepresenting the

character and amount of the alleged debt.

Case 3:10-cv-01717-WWE Document 1 Filed 10/29/10 Page 4 of 5

e. DRS violated 15 U.S.C. §§ 1692e(3) and 1692e(10) by leaving a
message that falsely implicated that the communication was from an attorney or that a
lawsuit was pending or about to be filed.

f. DRS violated 15 U.S.C. § 1692d by engaging in conduct as
described above, the natural consequence of which was to harass, oppress, or abuse
the plaintiff.

g. DRS vioiated 15 U.S.C. § 1692f by using unfair or unconscionable
means to attempt to collect the debt as described above.

17. Fcr DRS’s violations of the Fair Debt Coilection Practices Act as described
above, the Plaintifi is entitled to recover actual damages, statutory damages of
$t,OO0.00, and reasonable attorney’s fees, pursuant to 15 U.S.C. § 1692i<.

Vi. COUNT TWO

Violations of the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat.
§§ 42-110a et seq.

18. Plaintiff incorporates Paragraphs 1-14.

19. DRS violated the Ccnnecticut Unfair `i`racie Practices Act Conn. Gen. Stat. §§
42-110a et seq. by their debt collection activities described above.

20.'l'he DRS’s acts as described above were unfair, immoral, unethicall
oppressive and unscrupulous as such to cause substantial injury to consumers,
especiaily Plaintiff.

21 . Piaintiff suffered an ascertainable loss because of the DRS’s aforementioned

actions.

Case 3:10-cv-01717-WWE Document 1 Filed 10/29/10 Page 5 of 5

22.DRS violated the Connecticut Unfair Trade Practices Act Conn. Gen. Stat. §§
42-110a et seq. and is liable to P|aintiff for her monetary damages, punitive damages,

and attorney’s fees and costs pursuant to Conn. Gen. Stat. § 42-1109.

VVHEREFORE, the Plaintiff seeks recovery of monetary damages (including emotional
distress damages) pursuant to 15 U.S.C. § 1692k; statutory damages pursuant to 15
U.S.C. § 1692i<; attorney’s fees and costs pursuant to 15 U.S.C. § 1692k; actual
damages, punitive damagesl and attorney’s fees and costs pursuant to Conn. Gen.

Stat. § 42-1tOg; and such other relief as this Court deems appropriate

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